                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


LILIAN PAHOLA CALDERON JIMENEZ
and LUIS GORDILLO, et al.,

            Petitioners,                 Civil Action No. 1:18-cv-10225-MLW

v.                                       LEAVE TO FILE GRANTED ON APRIL
                                         27, 2018
KIRSTJEN M. NIELSEN, et al.,
                                         RESPONDENTS’ OPPOSITION TO
            Respondents.                 PETITION FOR WRIT OF HABEAS
                                         CORPUS, MOTION TO DISMISS THE
                                         FIRST AMENDED COMPLAINT,
                                         RESPONSE TO ORDER TO SHOW
                                         CAUSE, AND MEMORANDUM IN
                                         SUPPORT THEREOF
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INTRODUCTION

       In lieu of responding to Respondents’ Motion to Dismiss the original habeas petition,

Petitioners amended their petition to request a stay of removal for the five named Petitioners, and

others similarly situated, and request other related relief that this Court is without jurisdiction to

issue. Respondents now submit this memorandum in response to this Court’s order on April 16,

2018 (ECF No. 34), and in support of their motion to dismiss the amended complaint.

       Petitioners’ First Amended Complaint (“FAC”) is nothing more than a back door attempt

to challenge their final orders of removal, which is expressly prohibited by the Supreme Court and

Congress. Despite the due process Petitioners received throughout their removal proceedings and

the remedies available to them during their time in the United States, Petitioners ask this Court to

create new rights and remedies not found in any legal precedent. Accordingly, Respondents move

to dismiss the FAC for the following reasons.

       As an initial matter, a habeas action is inappropriate for each Petitioner, other than Ms. de

Souza, because they are not in custody and no live case or controversy exists. Moreover, the First

Circuit has routinely held that 8 U.S.C. § 1252(g) bars jurisdiction to consider habeas petitions,

and any other action, challenging DHS’s authority to execute removal orders. The provision states

that, in a Petition for Writ of Habeas Corpus under section 2241 of title 28, “or any other habeas

corpus provision . . . no court shall have jurisdiction to hear any cause or claim by or on behalf of

any alien arising from the decision or action by the [Government] to commence proceedings,

adjudicate cases, or execute removal orders against any alien under this Act.” 8 U.S.C. § 1252(g).

Thus, the claims in the FAC seeking to enjoin Petitioners’ removal from the United States are

precluded by 8 U.S.C. § 1252(g), and the Court has no jurisdiction to consider these claims.


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        Moreover, Lucimar de Souza is lawfully detained pursuant to 8 U.S.C. § 1231(a)(6) as an

inadmissible alien with a final order of removal. Similarly, the alien Petitioners are not entitled to

the procedures in 8 C.F.R. § 241.4(d), (f), (h), and (k) prior to any detention because those

procedures do not apply to aliens who have been detained for less than 90 days.

        Furthermore, the alien Petitioners have no due process or statutory right to remain in the

United States while they seek an unlawful presence waiver. First, the alien Petitioners’ removal

would not deprive them of a right to seek relief because the unlawful presence waiver is available

from outside the United States. Second, the Supreme Court has already rejected the U.S. citizen

Petitioners’ claimed liberty interest in “living with his spouse in the United States.” Finally, the

unlawful presence waiver is not a stay of removal; therefore, the alien Petitioners do not have a

legitimate expectation of entitlement to remain in the United States while their waiver is

adjudicated.

        Petitioners’ Equal Protection claim is likewise without merit. Petitioners fail to allege any

facts that Executive Order 13768, which prohibits “exempt[ing] classes or categories of removable

aliens from potential enforcement,” classifies aliens on the basis of race or nationality.

Furthermore, Petitioners failed to identify any cognizable fundamental right which they have been

deprived of due to an alleged classification.

        Lastly, Petitioners’ attempt to challenge their detention and removal under the

Administrative Procedure Act (“APA”), 5 U.S.C. § 701, et seq., is without merit because such an

action is barred by section 1252(g) (prohibiting courts from hearing claims challenging ICE’s

authority to execute removal orders). For these reasons, this Court should dismiss the Complaint

in its entirety.

STATEMENT OF THE FACTS
                                                  2
       i.      Petitioner Lilian Pahola Calderon Jimenez

       Calderon is a citizen of Guatemala who entered the United States without inspection in

1991. Compl. at ¶ 38. In 1999, an immigration judge denied Calderon’s father’s application for

asylum, on which she was a derivative. Id. at ¶ 39. The Board of Immigration Appeals (“BIA”)

affirmed the immigration judge’s order in 2002 and gave the family thirty days to voluntarily

depart. Id. When Petitioner and her family did not depart as ordered, their voluntarily departure

automatically converted to a final order of removal, which Petitioner remains subject to. Id. at ¶

40; see 8 C.F.R. § 1241.1(f).

       Calderon is the beneficiary of an approved Form I-130, Petition for Alien Relative, filed

on her behalf by her U.S. citizen husband, Luis Alberto Gordillo. Compl. at ¶ 53. On January 17,

2018, after Petitioner and her husband were interviewed in connection with the Form I-130, ICE

took Petitioner into custody to execute her 2002 removal order. Id. at ¶ 49. Petitioner filed a Form

I-246, Application for Stay of Deportation or Removal, with ICE on January 30, 2018. ECF. No.

22-1 at ¶ 8. On February 13, 2018, ICE granted Calderon’s Form I-246, thereby staying her

removal for three months and releasing her without conditions. Id.

       ii.     Petitioner Lucimar de Souza

       Lucimar de Souza (Ms. de Souza) is a citizen of Brazil and was ordered removed in 2002

after she failed to attend her immigration court proceedings. Compl. at ¶ 63. She is the beneficiary

of an approved Form I-130 petition based on her marriage to her U.S. citizen husband, Sergio

Francisco. Id. at ¶ 65. ICE detained Ms. de Souza pursuant to her final order of removal on January

30, 2018, after her Form I-130 interview. Id. As of April 20, 2018, Ms. de Souza has not filed a

Form I-246, request for administrative stay of removal. Ex. A. at ¶ 7. Ms. de Souza is currently in

immigration custody. Id.
                                                 3
       iii.    Petitioner Sandro de Souza

       Sandro de Souza is a citizen of Brazil who entered on a tourist visa in 1997. Compl. at ¶ 75.

An immigration judge denied his asylum application in 2007 and granted him voluntary departure.

Id. The BIA affirmed the immigration judge’s decision in 2011. Id. When Mr. de Souza failed to

comply with his voluntary departure order, it automatically converted into a final order of removal.

Id.; see 8 C.F.R. § 1241.1(f).

       Mr. de Souza is the beneficiary of an approved Form I-130 petition filed on his behalf by

his U.S. citizen spouse, Carmen Sanchez. Id. at ¶ 79. Mr. de Souza has applied for and received

several administrative stays of removal from ICE. ICE has never detained Mr. de Souza. Id. at ¶¶

77, 82. On February 8, 2017, ICE denied Mr. de Souza’s most recent request for an administrative

stay of removal, but did not detain him. Id. at ¶ 80. In January 2018, ICE instructed Mr. de Souza

to depart the United States by March 9, 2018. Id. at ¶ 81. Upon hearing that Mr. de Souza’s Form

I-130 petition was progressing, ICE ultimately allowed Mr. de Souza to depart by April 24, 2018. 1

       iv.     Petitioner Oscar Rivas

       Oscar Rivas is a citizen of El Salvador who was ordered removed after his asylum

application was denied in 2009. Id. at ¶¶ 86-87. The BIA affirmed the immigration judge’s order

in 2011. Id. ICE has not detained Mr. Rivas since his removal order became final. Id. at ¶ 88. ICE

granted Mr. Rivas’ continuous requests for administrative stays of removal until March 24, 2017,

when ICE denied his request for an administrative stay, but did not detain him. Id. at ¶¶ 87-88. On




1On April 13, 2018, this Court ordered Respondents not to remove any of the named alien
petitioners from Massachusetts while this case is pending. ECF No. 32. In accordance with this
order, ICE Enforcement and Removal Operations has directed its officers not to remove the
named alien Petitioners from Massachusetts or, otherwise, from the United States. ECF No. 38.
                                                 4
April 2, 2018, ICE placed Mr. Rivas on electronic monitoring and instructed Mr. Rivas to depart

the country by May 2, 2018. Id. at ¶ 91.

        Mr. Rivas is the beneficiary of a Form I-130 petition filed on his behalf by his U.S. citizen

wife, Celina Rivera Rivas, on April 12, 2017. Id. at ¶ 89. Mr. Rivas also filed a Form I-212 on July

7, 2017. Id. at ¶ 90.

        v.      Petitioner Deng Gao

        Deng Gao is a citizen of China who originally entered the United States on a K-3 visa. Id.

at ¶ 95. An immigration judge ordered Mr. Gao removed in 2008 after he failed to show up to his

immigration court hearing. Id. at ¶ 96. The immigration court denied Mr. Gao’s motion to reopen

his immigration case in August 2017 and his appeal is pending at the BIA. Id. at 98. Mr. Gao is

the beneficiary of a Form I-130 petition filed on his behalf by his U.S. citizen wife, Amy Chen, on

June 28, 2016. Id. at ¶ 99. ICE has never detained Mr. Gao and he is not under any ICE supervision.

Id. at ¶ 99. Mr. Gao has not yet attended his Form I-130 interview with United States Citizenship

and Immigration Services (“USCIS”).

        vi.   Procedural History

        On February 27, 2018, this Court adopted the parties’ briefing schedule and ordered

Respondents to file a motion to dismiss, by March 27, 2018. ECF No. 21 at ¶ 1. On April 10, 2018,

in lieu of filing a response to Respondents’ motion to dismiss, Petitioners filed an amended

complaint and petition for writ of habeas corpus. ECF No. 27. The next day, Petitioners filed a

motion for order to show cause and for emergency relief requesting this Court to order

Respondents to show cause as to Ms. de Souza’s detention and to stay the removal of the alien

petitioners. ECF No. 30. On April 13, 2018, this Court ordered Respondents not to remove any of

the named alien petitioners from Massachusetts while this case is pending. ECF No. 32. In
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accordance with this order, ICE Enforcement and Removal Operations directed its officers not to

remove the named alien Petitioners from Massachusetts or, otherwise, from the United States. ECF

No. 38. On April 16, 2018, this Court allowed Petitioner’s Motion for Order to Show Cause and

ordered Respondents to “file a memorandum and affidavit(s) responding to that part of the

Amended Complaint that seeks de Souza’s release.” ECF No. 34 at ¶ 2. On April 19, 2018, this

Court scheduled a conference with the parties to be held on May 1, 2018, and directed the parties

to report jointly, by April 26, 2018, in preparation for the May 8, 2018, hearing. ECF No. 35.

ARGUMENT

A.     This Court lacks subject matter jurisdiction over all Petitioners’ habeas petitions,
       other than Ms. de Souza’s habeas petition because there is no live case or controversy.

       A federal court’s jurisdiction is limited to cases and controversies. U.S. Const. art. III, § 2,

cl. 1. At all stages in the litigation, the petitioner “must have suffered, or be threatened with, an

actual injury traceable to the defendant and likely to be redressed by a favorable judicial decision.”

Lewis v. Continental Bank Corp., 494 U.S. 472, 477 (1990). “Even if an actual case or controversy

exists at the inception of litigation, a case may be rendered moot (and, therefore, subject to

dismissal) if changed circumstances eliminate any possibility of effectual relief.” Main School

Administration District No. 35 v. Mr. R., 321 F.3d 9, 17 (1st Cir. 2003). In the immigration context,

a habeas petition is moot once the petitioner is released because it eliminates the possibility of the

District Court granting any relief. Omondiagbe v. McDonald, No. 13-11182-MBB, 2014 WL

1413560 at *2 (D. Mass. April 10, 2014); see also Hernandez v. Gonzales, 424 F.3d 42 (1st Cir.

2005) (finding the district court lacks subject matter jurisdiction to consider immigration matters

other than “challenges to detention that are independent of challenges to removal orders”); c.f.

Leitao v. Reno, 311 F.3d 453, 455 (1st Cir. 2002) (remanding to the district court to assess

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“collateral consequences of the underlying proceeding” prior to the REAL ID Act which clearly

stripped district courts of jurisdiction). 2

        All of the named Petitioners’ habeas petitions, other than Ms. de Souza’s, are moot because

those petitioners are not in ICE custody. 3 See Leitao v. Reno, 311 F.3d 453, 455 (1st Cir. 2002).

Additionally, Petitioners’ request that this Court declare any future detention unlawful is, in fact,

an inappropriate challenge to their removal orders, which this Court is without jurisdiction to hear.

See Hernandez, 424 F.3d at 42. The only remaining relief the non-detained Petitioners seek is a

stay of their removal, which may not be granted in a habeas action. 4 See id. Accordingly, this Court

should dismiss this habeas petition as to the non-detained Petitioners. See Mr. R., 321 F.3d at 17.

B.      Section 1252 of Title 8 requires dismissal of this Complaint.




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  The First Circuit’s decision in Leitao, decided prior to the REAL ID Act, was predicated on the
belief that the District Court had jurisdiction to decide whether the alien was eligible for a
discretionary waiver. Leitao, 311 F.3d at 455. Since then, Congress has clarified that the District
Court is without jurisdiction to consider such a claim and other habeas petitions that challenge an
underlying removal order. 8 U.S.C. § 1252(b)(9); Hernandez, 424 F.3d at 42. Therefore, the
collateral consequences analysis in Leitao has no bearing on whether this petition is now moot.
See id.
3
  This Court should, at a minimum, dismiss alien Petitioner Deng Gao and his wife from this
action because Mr. Gao has never been detained by ICE and therefore has suffered no injury. See
Compl. at ¶ 100; Katz v. Pershing LLC, 672 F.3d 64, 71 (1st Cir. 2012) (“[A] plaintiff must have
personally suffered some harm.”).
4
  Respondent’s position is that 8 U.S.C. 1252 et. seq. precludes a habeas court in the immigration
context from issuing any relief other than release from custody. See 8 U.S.C. § 1252(g), (b)(9),
(a)(2)(D). Accordingly, the “capable of repetition, yet evading review” exception to mootness is
not applicable here because section 1252 strips this Court of jurisdiction to hear the Petitioners’
remaining claims, including their request for a stay of removal. See id; see e.g., Pelletier v.
United States, 653 F. App’x 618, 622 (10th Cir. 2016) (“To the extent that [petitioner] seeks
modification or release from the conditions of his bond, 8 U.S.C. § 1226(e) expressly bars
[jurisdiction] . . . To the extent [petitioner] seeks release from his removal proceedings, 8 U.S.C.
§ 1252(g) strips courts of jurisdiction . . . Because the district court could not provide relief to
[petitioner], Defendants were entitled to judgment as a matter of law . . . ).
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          Petitioners’ claims are precluded by 8 U.S.C. § 1252(g). Congress enacted the REAL ID

Act in 2005. See Pub. L. No. 119-13, Div. B, 119 Stat. 302 (May 11, 2005). The REAL ID Act

added jurisdiction-stripping provisions to the INA that speak directly to the availability of habeas

corpus relief for aliens. See Ishak v. Gonzales, 422 F.3d 22, 29 (1st Cir. 2005). Importantly, the

REAL ID Act amended 8 U.S.C. § 1252(g) to make clear that it “definitively eliminated any

provision for [habeas] jurisdiction.” Id. As amended by the REAL ID Act, 8 U.S.C. § 1252(g)

provides:

             Except as provided in this section and notwithstanding any other provision of
             law, (statutory or nonstatutory), including section 2241 of Title 28, or any other
             habeas corpus provision . . . no court shall have jurisdiction to hear any cause
             or claim by or on behalf of any alien arising from the decision or action by the
             [Government] to commence proceedings, adjudicate cases, or execute removal
             orders against any alien under this chapter.

          8 U.S.C. § 1252(g) (emphasis added). Thus, Congress unequivocally protected the

government’s authority to make “discretionary determinations” over whether and when to execute

a removal order. Reno v. Am.-Arab Anti-Discrimination Comm. (“AADC”), 525 U.S. 471, 485

(1999).

          Additionally, the REAL ID Act establishes a specific statutory mechanism that expressly

channels all claims relating to removal proceedings into a petition for review before the appropriate

circuit court of appeals, after the alien has completed the administrative removal process and is

subject to a final order of removal. Specifically, 8 U.S.C. § 1252(b)(9) provides:

             Judicial review of all questions of law and fact, including interpretation and
             application of constitutional and statutory provisions, arising from any action
             taken or proceeding brought to remove an alien from the United States under
             this subchapter shall be available only in judicial review of a final order under
             this section. Except as otherwise provided in this section, no court shall have
             jurisdiction, by habeas corpus under section 2241 of Title 28 or any other
             habeas corpus provision, by section 1361 or 1651 of such title, or by any other

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            provision of law (statutory or nonstatutory), to review such an order or such
            questions of law or fact.

8 U.S.C. § 1252(b)(9) (emphasis added).

        Section 1252(a)(2)(D) of the INA further clarifies that nothing in the Act “shall be

construed as precluding review of constitutional claims or questions of law raised upon a petition

for review filed with an appropriate court of appeals in accordance with this section,” making clear

that an alien may raise legal claims in the court of appeals as part of the petition for review process.

See generally Aguilar v. U.S. Immigration & Customs Enf’t Div. of the Dep’t of Homeland Sec.,

510 F.3d 1, 9-12 (1st Cir. 2007) (explaining that “Congress’s purpose in enacting section

1252(b)(9) … is to consolidate and channel review of all legal and factual questions that arise from

the removal of an alien into the administrative process, with judicial review of those decisions

vested exclusively in the courts of appeals”); accord H.R. Rep. No. 109-72, at 174 (“[B]y

channeling review to the courts of appeals, section 106 will eliminate the problems of bifurcated

and piecemeal litigation.”); see also 8 U.S.C. § 1252(a)(5) (“Notwithstanding any other provision

of law (statutory or nonstatutory) . . . or any other habeas corpus provision . . . a petition for review

filed with an appropriate court of appeals in accordance with this section shall be the sole and

exclusive means for judicial review of an order of removal . . .”).

        Section 1252(b)(9)’s “expanse is breathtaking” and is “not limited to challenges to singular

orders of removal or to removal proceedings simpliciter.” Aguilar, 510 F.3d at 9. Consequently,

allowing Petitioners’ habeas petition to move forward in this Court—when Congress has provided

ample administrative remedies, as well as a petition for review process—would “belie[] the

statute’s plain meaning and run[] contrary to Congress’s discernible intent.” Id.



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       Petitioners ask this Court to intervene in ICE’s decision to execute their removal orders,

entered years ago, which is explicitly prohibited by the statute and binding Supreme Court

precedent. See Compl. at ¶¶ 39, 63, 75, 85, 96. Section 1252(g) plainly prohibits judicial review

of the “decision or action to commence proceedings, adjudicate cases, or execute removal orders.”

AADC, 525 U.S. 482 (emphasis in original); Foster v. Townsley, 243 F.3d 210, 214 (5th Cir. 2001)

(holding the district court had no jurisdiction even though DHS executed a removal order contrary

to an automatic stay); Tejada v. Cabral, 424 F .Supp. 2d 296, 298 (D. Mass. 2006) (“Congress

made it quite clear that all court orders regarding alien removal—be they stays or permanent

injunctions—were to be issued by the appropriate court of appeals.”) (emphasis added); Cf. Aziz

v. Chadbourne, 2007 WL 3024010, *2 (D. Mass. Oct. 15, 2007) (acknowledging that 8 U.S.C. §

1252(g) bars granting of any stay of removal for alien admitted under Visa Waiver Program who

had pending adjustment application). Accordingly, this Court should dismiss this Complaint,

which merely seeks to stay the named alien Petitioners’ removal from the United States.

C.     The Petition does not establish that Ms. de Souza is detained in violation of the
       Constitution or the laws or treaties of the United States.

       i.      This Court should dismiss Ms. de Souza’s Petition because she has failed to exhaust
               her administrative remedies

       “Precedent is clear in this circuit that failure to pursue administrative remedies is virtually

always fatal to a habeas petition.” Sitcha v. MacDonald, 365 F. Supp. 2d 103, 106 (D. Mass. 2005)

(citing Sayyah v. Farquharson, 382 F. 3d 20, 26 (1st Cir. 2004). The First Circuit recognized that

the exhaustion requirement found in section 1252(d) equally requires exhaustion in the habeas

context. Sayyah, 382 F. 3d at 26; see also 8 U.S.C. § 1252(d).

       The Form I-246, Application for a Stay of Deportation or Removal is available to aliens

like Ms. de Souza, with final orders of removal. See 8 C.F.R. 241.6. Ms. de Souza has not applied
                                                10
for an administrative stay of removal, which could potentially give her the relief she now seeks

before this Court. See Ex. A at ¶ 7. Therefore, this Court should dismiss Ms. de Souza’s habeas

petition because she has failed to exhaust her administrative remedies, via a Form I-246. See id.;

Sayyah, 382 F. 3d at 26.

       ii.     Ms. de Souza’s detention is lawful under 8 U.S.C. § 1231(a)(6) and Supreme Court
               Precedent.

       To the extent that Ms. de Souza, and any of the other alien Petitioners, are challenging the

lawfulness of their immigration detention, this Court has no basis to grant any relief because Ms.

de Souza’s detention, and the detention of any of the other alien Petitioners, is lawful under 8

U.S.C. § 1231(a)(6) and as a matter of constitutional interpretation under Zadvydas v. Davis, 533

U.S. 678, 701 (2001). Section 1231(a)(6) authorizes detention of aliens with orders of removal

beyond the 90 day removal period. 8 U.S.C. § 1231(a)(6). Detention pursuant to this section is

presumptively reasonable for six-months, thereby making habeas petitions filed prior to the six-

month mark not ripe for adjudication. See Zadvydas, 533 U.S. at 701; Akinwale v. Ashcroft, 287

F.3d 1050, 1052 (11th Cir. 2002) (holding that the “six-month period . . . must have expired at the

time [the petitioner's] § 2241 petition was filed in order to state a claim under Zadvydas” ); accord

Hodel v. Aguirre, 260 F. Supp. 2d 695, 699 (N.D. Ill. 2003) (Zadvydas not implicated where

criminal alien held fewer than six months); Lamotte v. Holder, No. CIV.A. 13-10582-RGS, 2013

WL 1629135, at *1-2 (D. Mass. Apr. 9, 2013). After the expiration of the six-month period, if an

alien provides good reason to believe that there is no significant likelihood of removal in the

reasonably foreseeable future (“SLRRFF”), the government must respond with evidence sufficient

to rebut that showing. Zadvydas, 533 U.S. at 701.



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       The Supreme Court’s analysis in Zadvydas is the sole inquiry in cases like Ms. de Souza’s

and the alien Petitioners’. See Poeuv v. Smith, 169 F.Supp.3d 297 (D. Mass. 2016); Penate-Diaz

v. Moniz, No. 18-10156-NMG, 2018 WL 889217 at *2 (D. Mass February 12, 2018). Ms. de Souza

has been detained for less than three months; therefore, under Zadvydas, her claim is premature.

See Lamotte v. Holder, No. CIV.A. 13-10582-RGS, 2013 WL 1629135, at *1-2 (D. Mass. Apr. 9,

2013); Compl. at ¶ 66. Moreover, Ms. de Souza cannot show a lack of significant likelihood of

removal in the reasonably foreseeable future because ICE has requested a passport for Ms. de

Souza based on her Brazilian birth certificate and can effectuate removal as soon as the stay granted

by this Court in ECF No. 32 is lifted. See Ex. A at ¶ 7. For these reasons, this Court should dismiss

Count 5.

       iii.    The Post Order Custody Review regulations do not apply to Ms. de Souza.

       As stated above, procedural due process claims concerning post order detention and

removal are analyzed solely under the Zadvydas framework. Petitioners and Ms. de Souza cannot

attempt to skirt around this framework by asserting that the Post Order Custody Review (“POCR”)

regulations apply to them prior to any detention. See Compl. At ¶ 46. The plain language of the

regulations states that the POCR regulations apply only to currently detained aliens. See 8 C.F.R.

§ 241.4(a).

       An agency’s interpretation of its own regulations is controlling unless it is “plainly

erroneous or inconsistent with the regulation.” Auer v. Robbins, 519 U.S. 452, 461 (1997). The

agency’s interpretation is worthy of deference even if the interpretation is “in the form of a legal

brief.” Id. at 462. The purpose of the POCR regulations is to provide alien detainees with

administrative review of their continued detention after they have already been detained for ninety

days, otherwise known as the “removal period.” See 8 C.F.R. § 241.4(a). These regulations apply
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when ICE decides to exercise its “authority to continue an alien in custody” and explains what

procedures must be followed when ICE wants to “continue an alien in custody beyond the removal

period.” Id. (emphasis added). The regulations provide factors to be considered when deciding

whether to “recommend further detention or release of detainee” and ICE must give 30 day

“written notice to the detainee” of the pending record review. 8 C.F.R. § 241.4(f), (h)(2) (emphasis

added). Any “decision to retain custody” must be provided to the “detained alien.” 8 C.F.R.

§ 241.4(d) (emphasis added).

       ICE interprets these regulations to mean that only aliens currently detained at the expiration

of the removal period are entitled to a POCR 5 and that these regulations do not apply to aliens

prior to their detention or before they have been detained 90 days. Because the agency’s

interpretation is consistent with the statutory language, it must be given deference. See Auer, 519

U.S. at 461. Petitioners’ claim that they are entitled to these regulations prior to any detention is

contrary to both the regulatory language and the agency’s interpretation of it. See Compl. at ¶ 45.

As a result, this Court should dismiss Count 1 and Count 2 of the Complaint.

D.     Petitioners cannot establish that their detention and removal would be unlawful
       under the INA and applicable regulations.

       Petitioners cannot establish that their removal would be unlawful because the filing or

approval of a provisional unlawful presence waiver has no effect on the immigration status of the

applicant or ICE’s authority to remove the applicant from the United States. 8 C.F.R.

§ 212.7(e)(2)(i) (“A pending or approved provisional unlawful presence waiver does not constitute


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  Applying the POCR regulations to Plaintiffs prior to any detention would mean every alien with
a final order of removal, even criminal aliens, would have to be given an effective “notice to
run.” Applying the POCR regulations would merely reward those aliens who refused to comply
with their removal orders with more due process than those who followed an immigration
judge’s orders to depart from the United States.
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a grant of a lawful immigration status or a period of stay authorized by the Secretary.”) (emphasis

added). To deter aliens from accruing unlawful presence in the United States, Congress adopted

the three year and ten year bars of inadmissibility. 8 U.S.C. § 212(a)(9)(B). A person who accrues

unlawful presence of more than one year and then leaves the United States is inadmissible from

immigrating to the United States for a period of ten years. See id. USCIS, in its sole discretion,

may waive this ten year bar through the “unlawful presence waiver” if the applicant can prove that

the bar would result in “extreme hardship” to the applicant’s citizen or permanent resident spouse

or parent. 8 U.S.C. § 1182(a)(9)(B)(v). U.S. citizen children are not relatives that could qualify an

applicant for a waiver. Id. In 2013, a rule was promulgated to allow aliens within the United States

to provisionally    apply for the Section 1182(a)(9)(B)(v)         unlawful presence waiver. 8

C.F.R. § 212.7(e)(2)(i). The provisional unlawful presence waiver process is described in 8 C.F.R.

§ 212.7(e). “The decision whether to approve a provisional unlawful presence waiver application

is discretionary.” 8 C.F.R. § 212.7(e)(2)(i).

       However, the filing or approval of a provisional unlawful presence waiver has no effect on

the immigration status of the applicant or ICE’s authority to remove the applicant from the United

States. 8 C.F.R. § 212.7(e)(2)(i) (“A pending or approved provisional unlawful presence waiver

does not constitute a grant of a lawful immigration status or a period of stay authorized by the

Secretary.”) (emphasis added). Consequently, Petitioners cannot use the mere availability of this

waiver as a means to stay their removal, especially when regulations place no limit on ICE’s ability

to execute removal orders. See id. Thus, this Court should dismiss Count One.

E.     Petitioners do not have a due process right to remain in the United States while their
       unlawful presence waiver is adjudicated.



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          Petitioners fail to state a cognizable due process claim because they have no right to remain

in the United States while their unlawful presence waiver is adjudicated. Petitioners have not, as

they argue in their Complaint, been denied any “right to seek relief.” See Compl. at ¶ 117. The

alien Petitioners seek a waiver of only one ground of inadmissibility.                 See 8 U.S.C.

§ 1182(a)(9)(B)(v). The regulations allow that waiver to be sought from both within and outside

the United States. See 8 U.S.C. § 1182(a)(9)(B)(v); 8 C.F.R. § 212.7(e)(2)(i). Because the alien

Petitioners’ removal would not preclude them from seeking the same unlawful presence waiver

from outside the United States, they have not been denied any due process right to seek relief. See

id. Accordingly, all that remains is the U.S. citizen Petitioners’ claim that they have a right to live

in the United States with their alien spouses. See Compl. at ¶ 118. The Supreme Court, however,

was adamant that “there is no such constitutional right.” Kerry v. Din, 576 US __, 135 S. Ct. 2128

(2015).

          As discussed above, Petitioners are subject to lawful orders of removal. Compl. at ¶¶ 40,

63, 75, 87, 96. Because Petitioners have already been ordered removed in their underlying

immigration proceedings, they no longer have a due process right to remain in the United States.

See Enwonwu v. Gonzales, 438 F.3d 22, 30 (1st Cir. 2006) (refusing to find a due process right to

remain in the United States where the alien had been ordered removed); Pena-Muriel v. Gonzales,

489 F.3d 438, 433 (1st Cir. 2007) (“[T]he fact that a vacatur may be an ‘appropriate’ basis for

reopening a deportation order does not establish a due process right to such reopening after one

has departed the country.”); Smith v. I.N.S., 684 F. Supp. 1113, 1118 n.2 (D. Mass. 1988)

(“Obviously, an alien cannot claim a constitutional right to remain in this country because of the

existence of a marital relationship with a citizen.”). Similarly, their U.S. citizen spouses do not

have a due process right to live with their alien spouses in the United States. Din, 135 S.Ct. at
                                                15
2128; Silverman v. Rogers, 437 F.2d 102, 107 (1st Cir. 1970) (holding that even assuming there is

a right to marriage, preventing the alien spouse from remaining in the United States “does not

attack the validity of the marriage”).

       Finally, the mere availability of the unlawful presence waiver from within the United States

does not create a due process right. To have a due process interest in a benefit “a person clearly

must have more than an abstract need or desire and more than a unilateral expectation of it.” Town

of Castle Rock, Colo. v. Gonzales, 545 U.S. 748, 756 (2005). The claimant must “have a legitimate

claim of entitlement to it.” Id. These entitlements are not created by the Constitution, but by an

independent source of law such as a statute. Id. Generally, “a benefit is not a protected entitlement

if government officials may grant or deny it in their discretion.” Clukey v. Town of Camden, 717

F.3d 52, 56 (1st Cir. 2013); see also Chun Xin Chi v. Holder, 606 F.3d 6, 10 (1st Cir. 2010)

(“Because an alien has no right or entitlement to a reopening, he or she has no protected liberty or

property interest in that remedy.”); Juniper v. Ashcroft, 396 F.3d 487, 492 (1st Cir. 2005)

(“Adjustment of status is not an entitlement, but rather, a matter of administrative discretion.”).

       Petitioners have no entitlement to remain in the United States while their unlawful presence

waiver is adjudicated. Nor is there a legitimate claim of entitlement because the statutes and

regulations governing the waiver make it available from both within and outside the United States.

See Town of Castle Rock, 545 U.S. at 756; 8 U.S.C. § 1182(a)(9)(B)(v); 8 C.F.R. § 212.7(e)(2)(i)

(“A pending or approved provisional unlawful presence waiver does not constitute a grant of a

lawful immigration status or a period of stay authorized by the Secretary.”). Petitioners’ “need or

desire” to stay with their families in the United States while their waivers are adjudicated is not

sufficient to create a liberty or property interest where Petitioners have lawful final orders of

removal and governing law expressly disclaims any such right. See id.; see also Silverman v.
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Rogers, 437 F.2d 102, 107 (1st Cir. 1970); Smith, 684 F. Supp. at 1118 n.2; Ansong v. District

Director, 596 F. Supp. 882, 888 (D. Me. 1984); Li v. Hodgson, C.A. No. 12-12347-DPW, 2012

WL 6738262, at *3 (D. Mass. Dec. 27, 2012); Cf. Khalaj v. Cole, 46 F.3d 828, 835 (8th Cir. 1995)

(rejecting petitioner’s view of due process that “would prohibit the INS from ever attempting to

deport an alien pursuant to a valid deportation order if any further administrative relief, such as

motions to reopen, were available”). Moreover, whether to grant a stay of removal pending the

waiver application process is within the agency’s discretion. See 8 C.F.R. § 212.7(e)(2)(i);

241.6(a) (allowing for an administrative stay of removal). Therefore, Petitioners cannot meet the

threshold requirement of showing that they have a protected liberty or property interest in

remaining in the United States while their waivers are adjudicated and this Court should dismiss

Count Two. 6 See Chun Xin Chi 606 F.3d at 10.

F.     Petitioners have failed to adequately state an Equal Protection claim under the Fifth
       Amendment.

       In Count 3, Petitioners allege that Executive Order 13768 (“EO”) and Respondents’ actions

taken to execute final orders of removal are “motivated by racial animus and animus based on

national origin.” Compl. at ¶ 122. While the Court must accept as true all well-pleaded factual

allegations in the complaint, the Court need not, however, accept Petitioners’ mere legal

conclusions or conclusory statements. See Ashcroft v. Iqbal, 556 U.S. 662, 676-78 (2009). In order


6 Even if such a due process right existed – which it does not – the availability and adjudication of
Form I-246, administrative stay of removal, is a “fundamentally fair proceeding” where ICE may
consider factors, such as community and family ties, in adjudicating the request. See Matias v.
Sessions, 871 F.3d 65, 71 (1st Cir. 2017) (“Procedural due process protects a right to a
fundamentally fair immigration proceeding; but few proceedings are perfect and one can have real
errors, including ones that adversely affect the alien’s interests, without automatically violating
the Constitution.”); 8 C.F.R. § 241.6 (identifying factors that may be considered when adjudicating
an I-246). Thus, the availability and adjudication of the Form I-246 would satisfy any procedural
due process protections owed Plaintiffs.
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to state an equal protection claim under the Fifth Amendment, a Petitioner must allege that (1) they

are subject to a government classification that does not meet the appropriate level of scrutiny

(invidious discrimination) or (2) the government has deprived them of a fundamental right based

on their membership in a particular class. See Iqbal, 556 U.S. at 676-77 (describing both invidious

discrimination claims and claims based on a “violation of a clearly established right”). “Where the

claim is invidious discrimination . . . the Petitioner must plead and prove that the defendant acted

with a discriminatory purpose.” Id. at 676.

       Petitioners have not “nudged [their] claims of invidious discrimination across the line from

conceivable to plausible.” Id. at 680; Compl. at ¶ 122. Notably, Executive Order 13768 does not

mention race or national origin as a basis for removal. See Executive Order 13768 (“We cannot

faithfully execute the immigration laws of the United States if we exempt classes or categories of

removable aliens from potential enforcement.”). Petitioners downplay this key fact and ask that

the Court read into the Executive Order an animus for “non-white people.” Compl. at ¶ 110, 122.

However, Petitioners identify no canon of interpretation that would allow this Court to rely on

extrinsic statements to find a discriminatory purpose.

       Additionally, the First Circuit has rejected conclusory equal protection claims in the

immigration context. Kandamar v. Gonzales, 464 F.3d 65, 74 (1st Cir. 2006) (“It is worth

emphasizing that the decision to remove Petitioner was based on the fact that he had overstayed

his visa, but not based on his national origin.”). Here, Respondents are instructed, by statute, to

remove aliens who are subject to final orders of removal and the purpose of the EO is the

“enforcement of our Nation’s immigration laws.” Executive Order 13768. As between that

“obvious alternative explanation for the arrests and the purposeful, invidious discriminat ion

[Petitioners] ask[] us to infer, discrimination is not a plausible conclusion.” Iqbal, 556 U.S. at 682.
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Furthermore, as discussed supra, “a claim of selective enforcement based on national origin is

virtually precluded by [the Supreme Court].” Kandamar, 464 F.3d at 74 (citing AADC, 525 U.S.

471, for the proposition that Section 1252(g) precludes jurisdiction over discretionary prosecution

cases).

          Ultimately,   Petitioners equal protection challenge     is not a claim of invidious

discrimination; their claim is that enforcement of our nation’s immigration laws should somehow

be illegal as applied to them. For the reasons discussed supra, Petitioners have not identified any

cognizable fundamental right to remain in this country or live with their alien spouses in the United

States. Din, 135 S. Ct. at 2128; Silverman, 437 F.2d at 107. Moreover, the remedy under this equal

protection claim would be to remove all aliens with final orders of removal — not staying the

removal of all removable aliens. Sessions v. Morales-Santana, 582 U.S. __, 137 S. Ct. 1678 (2017)

(dispensing with the “favorable treatment for a discrete group” by applying the more stringent

requirements to everyone). Petitioners’ equal protection claim is wholly incompatible with the

relief they seek. See Compl. at ¶ 138-145. Accordingly, Petitioners have not stated an Equal

Protection claim under the Fifth Amendment and this Court should dismiss Count 3.

G.        Petitioner’s claim under the Administrative Procedure Act is barred by section
          1252(g) and because ICE has not engaged in any rulemaking.

          Petitioners’ attempt to challenge their detention and removal under the Administrative

Procedure Act (“APA”), 5 U.S.C. § 701, et seq., fails because any such challenge is barred by

section 1252(g) (prohibiting courts from hearing claims challenging ICE’s authority to execute

removal orders). See supra, at 8-11. Furthermore, ICE’s decision to execute the removal of the

alien Petitioners’ removal orders is one of those “discretionary determinations” that are not the

“bases for separate rounds of judicial intervention outside the streamlined process designed by

                                                 19
Congress.” AADC, 525 U.S. at 471. As a discretionary decision, it is absolutely precluded from

review under the APA. Heckler v. Chaney, 470 U.S. 821, 831 (1985); 5 U.S.C. § 701(a)(2) (noting

that there is no APA review of agency action committed to agency discretion by law).

       Additionally, Petitioners purport that ICE has changed a rule without engaging in proper

rulemaking procedures under the APA, but fails to identify what rule changed. Compl. at ¶¶ 126-

127. ICE’s decision to execute the Petitioners’ removal order is not inconsistent with 8 C.F.R.

§ 212.7(e), which allows ICE to execute removal orders even if a provisional unlawful presence

waiver is approved or pending. 8 C.F.R. § 212.7(e) (“A pending or approved provisional unlawful

presence waiver does not constitute a grant of a lawful immigration status or a period of stay

authorized by the Secretary.”). Accordingly, this Court should dismiss Petitioner’s Count Four.

CONCLUSION

   This Court should dismiss the Amended Class Action Complaint and Petition for Writ of

Habeas Corpus for lack of subject-matter jurisdiction. Alternatively, this Court should deny the

Petition for Writ of Habeas Corpus because none of the alien Petitioners have established that their

detention or removal is in violation of the Constitution or laws or treaties of the United States.

 DATED: April 23, 2018                        Respectfully submitted,

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                                                 20
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                                  LOCAL RULE 7.1 CERTIFICATE

       Pursuant to Local Rule 7.1(A)(2), I certify that I conferred with counsel for Petitioners in

a good faith effort to narrow or resolve the issues presented by this motion.


                                                      /s/ Mary L. Larakers
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                                     CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing Respondents’ Opposition to

Petition for Writ of Habeas Corpus, Motion to Dismiss First Amended Complaint, and

Memorandum in Support Thereof was electronically served via CM/ECF on the 23th day of April,

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